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1                        UNITED STATES DISTRICT COURT
2                             DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                              Case No. 2:20-MJ-108-VCF

4                    Plaintiff,                             [Proposed] Order on Stipulation to
                                                            Extend Deadlines to Conduct
5           v.                                              Preliminary Hearing and
                                                            File Indictment
6    RODOLFO RODRIGUEZ-SILVA,

7                    Defendant.

8

9           Based on the stipulation of counsel, good cause appearing, and the best interest of

10   justice being served; the time requested by this stipulation being excludable in computing

11   the time within which the defendant must be indicted and the trial herein must commence

12   pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of

13   Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):

14          IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled

15                                                                                       12/3/2020
     on September 28, 2020, at the hour of 10:00 a.m., be vacated and continued to ___________

16                  10:00 AM in LV courtroom 3D before Magistrate Judge Cam Ferenbach.
     at the hour of _______.
                     1:00 PM

17          DATED this ___
                       25 day of September, 2020.

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20                                                       HONORABLE CAM FERENBACH
                                                       UNITED STATES MAGISTRATE JUDGE
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